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IN THE UNITED STATES DISTRICT COU

T y
FOR THE DISTRICT oF NEw MEXICO§J 1 lJ IB I)

U.S. D|STR|CT COURT
ALBUQUERGUE, NEW MEX|CO

UNITED sTATEs oF AMERICA, QCT‘]E ng
Plaintiff, y€;zd&)€%?www. “¢§
, ,I , dk,
cRYsTEL L. MENEFEE, CLERK

Plaintiff-Intervenor,
v. No. CIV 00-1656 JP/RLP ACE

THE NEW MEXICO DEPARTMENT
OF PUBLIC SAFETY,

Defendant.

 

CONSENT DECREE BETWEEN THE U'NITED STATES OF AMERICA
AND
THE NEW MEXICO DEPARTMENT OF PUBLIC SAFETY

This action was brought by the United States against the New
Mexico Department of Public Safety (“the Department” or “DPS”) to
enforce the provisions of Title VII of the Civil Rights Act of
1964, 42 U.S.C. §2000€, et geg., as amended (“Title vII”),
following receipt by the United States from the Equal Employment
Opportunity Commission (“EEOC”) of a charge of discrimination
filed by Crystel L. Menefee (EEOC charge no. XXX-XX-XXXX). This
Court has jurisdiction over this action under 42 U.S.C. §2000e-
B(f) and 28 U.S.C. §§1331, 1345.

In its complaint, the United States alleges that the
Department discriminated against Crystel L. Menefee, a female

former employee of the State Police Division of the New Mexico

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Department of Public Safety, because of her sex in violation of
Section 703(a) of Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. §2000e-Z(a), among other ways, by:

a. subjecting Ms. Menefee to sexual harassment which
created an intimidating, hostile or offensive work
environment and which adversely affected the terms,
conditions and privileges of Ms. Menefee’s employment;
and

b. failing or refusing to take appropriate action to
remedy the effects of the discriminatory
treatment.

The Department denies that it has discriminated against Ms.
Menefee in violation of Title VII. Nevertheless, the United
States and the Department, desiring that this action be settled
by an appropriate Consent Decree, and without the burden of
protracted litigation, agree to the jurisdiction of this Court
over the parties, and the subject matter of this action. The
parties also hereby waive, for purposes of this Consent Decree
only, hearings and findings of fact and conclusions of law on all
issues, and further agree to the entry of this Consent Decree as
final and binding between them with regard to the issues raised
in the complaint filed by the United States in this case.

This Consent Decree, being entered into with the consent of

the United States and the Department, shall in no way constitute

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an adjudication or finding on the merits of the case, nor be
construed as an admission by the Department or a finding of any
wrongdoing or violation of any applicable federal law or
regulation.

It is therefore ORDERED, ADJUDGED AND DECREED as follows:

For purposes of this Consent Decree, the date of entry of
the Consent Decree shall be the date on which the Court approves
and signs this Consent Decree as an order of the Court.

GEN'ERAL RELIEF

l. The Department, by and through its officials, agents,
employees and all persons in active concert or participation with
the Department in the performance of employment or personnel
functions, shall not engage in any act or practice that has the
purpose or effect of unlawfully discriminating against any
employee because of that employee's sex.

2. The Department shall not retaliate against or in any
way adversely affect the terms and conditions of employment of
any person because that person has opposed any practice made
unlawful by Title VII of the Civil Rights Act of 1964, 42 U.S.C.
§ZOOOe, §§ §§g., filed a charge with the EEOC, or testified,
assisted or participated in any manner in an investigation,
proceeding or hearing under Title VII, including this case or
this Consent Decree.

3. Within 60 days after the date of entry of this Consent

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Decree, the Department shall implement the sexual harassment,
racial harassment and anti-retaliation policy (“sexual harassment
policy”), attached as Exhibit 1.1 The Department shall
incorporate this Policy into its policy manual at the next
regular printing of that manual.

4. The Department shall ensure that a copy of the attached
sexual harassment policy is distributed to all of its current
employees upon its implementation.

5. Upon its implementation the Department shall make
available to its employees the sexual harassment policy by, ;n;e;
alia, posting it in all buildings, facilities and administrative
offices of the Department which are commonly used for posting
notices, including but not limited to all offices, districts,
subdistricts and facilities of the New Mexico State Police.

6. The Department shall ensure that each new employee
receives a copy of the sexual harassment policy at the time of
the new employee's hire. Each new employee shall sign an
acknowledgment that s/he has read and understood the sexual
harassment policy, and this acknowledgment shall be placed in
each employee's personnel file.

7. The Department shall implement the Sexual Harassment,

Racial Harassment and Retaliation Complaint Investigation and

 

l The attached policy concerns both sexual and racial
harassment. There are no allegations of racial harassment in
this case.

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Resolution Procedure (“the Investigations Procedure”) attached
hereto as Exhibit 2 within 60 days after the date of entry of
this Consent Decree. DPS is not required to disseminate or train
non~supervisory employees with regard to the Investigations
Procedure as set out in paragraphs 4, 5, 6, 8 or 9. DPS shall
train its supervisory personnel on the Investigations Procedure
as provided in paragraph 10.

B. The Department shall provide a minimum of eight (8)
hours of mandatory live anti-sexual and racial harassment and
discrimination training to all recruits during the course of the
recruit training academy. At least four hours of the training
shall be conducted by a trainer approved by the United States and
shall include a review of employment discrimination laws, the
Department’s sexual harassment policy, behavior that may
constitute sexual and racial harassment and retaliation and the
procedures for filing a complaint. No recruit shall be exempted
from this training requirement for any reason.

9. The Department shall provide mandatory live anti-sexual
and racial harassment training to all employees and supervisors
on an annual basis for the life of this Consent Decree. The
training shall be conducted by a trainer approved by the United
States and shall include a review of employment discrimination
laws, the Department’s sexual harassment policy, behavior that

may constitute sexual and racial harassment and retaliation and

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the procedures for filing a complaint. No employee shall be
exempted from this training requirement for any reason. Any
employee who fails to attend the live training shall be required
to watch a video replay as soon thereafter as possible. The
Department shall conduct at least two trainings for all employees
during the life of this Consent Decree, the first to be held
within 120 days of the date of entry of the Consent Decree.

10. The Department shall provide an additional annual
training by a trainer approved by the United States to all
supervisors regarding (1) their specific obligations under the
Department's sexual and racial harassment policy; (2) their
obligations under the Department's Investigations Procedure; (3)
preventing and detecting sexual and racial harassment and (4)
Departmental liability issues related to sexual and racial
discrimination claims. The Department shall conduct at least two
trainings for all supervisors during the life of this Consent
Decree, the first to be held within 120 days of the date of entry
of the Consent Decree.

11. The Department shall retain the following records
during the life of this Consent Decree or as otherwise required
by applicable federal record retention requirements:

a. the provisions of any policy on sexual harassment, then

in effect, and a record of the effective date or dates

of those provisions;

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l2.

any posted notices or poster(s) displayed in Department
work areas intended to convey information regarding the
prohibition of sexual harassment in the workplace, as
provided for in this Consent Decree.

all documents that come into the Department's
possession involving written complaints, and documents
constituting the Department's investigation and
resolution, of (i) discrimination in employment on the
basis of sex; (ii) retaliation because a person has
testified or assisted in any manner, and (iii) the
Department's investigation and resolution of any such
complaints.

records of the trainings conducted, as provided for in
this Consent Decree, including dates of all trainings
and make-up sessions, attendance lists for all
trainings and make-up sessions, lists of individuals
who fail to attend scheduled trainings or make-up
sessions, all training materials and videotapes of all
training sessions.

For purposes of this Consent Decree, the Department

shall report to the United States twice a year. The reporting

periods shall run from January 1 through June 30, and from July 1

through December 31 of each year, with the exception that the

first reporting period shall begin as of the date of entry of

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this Consent Decree and end on December 31, 2001 and the final
reporting period shall run from January 1, 2003 until 60 days
prior to the expiration of this Consent Decree. Within 30 days
after the close of each reporting period, the Department shall
provide to the United States copies of the materials required to
be retained pursuant to the requirements of this Consent Decree.

13. The United States shall have the right to inspect and
copy any documents aside from the semi-annual reports specified
in this Consent Decree that are relevant and necessary to monitor
the Department's compliance with this Consent Decree, upon thirty
(30) days notice to the Department, without further order of this
Court.

SPECIFIC RELIEF

14. The matter of specific relief for Crystel L. Menefee

has been resolved separately.
DISPUTES

15. The parties to this Consent Decree shall attempt to
resolve informally any disputes that may occur under this Consent
Decree. If the United States and the Department are unable to
reach agreement after informally seeking to resolve a dispute,
the issue may be submitted by either party to the Court for
resolution.

16. All documents required to be delivered under this

Consent Decree to the United States shall be sent to the

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attention of:
Larry G. Ward, Esq.
U.S. Department of Justice
Civil Rights Division
Employment Litigation Section
601 D Street, N.W., Room 4916
Washington, D.C. 20004.

17. All documents required to be delivered under this
Consent Decree to the Department shall be sent to the attention
Of:

Ellen S. Casey, Esq.

218 Montezuma/P.O. Box 2068

Hinkle, Hensley, Shanor & Martin, L.L.P.

Santa Fe, New Mexico 87504-2068

John Wheeler, Il, Esq.

Chief Counsel

NM Department of Public Safety

P.O. Box 1628

Santa Fe, New Mexico 87504-1628
RETENTION OF JURISDICTION

18. The Court shall retain jurisdiction over this Consent
Decree for the purpose of resolving any disputes or entering any
orders that may be necessary to implement the relief provided in
the Consent Decree.

19. This Decree shall terminate two (2) years from the date
of its entry. Prior to its termination, any party may, upon
notice to the other party and for good cause shown, move the
court for an extension of the Decree’s term.

20. The parties should bear their own costs in this action,

including attorney's fees, except that the parties shall retain

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the right to seek costs for any matter which, in the future, may
arise from this Decree and require resolution by the Court.

IT is so ORDERED, this day of , 2001.

 
    

' orable James A. Parker
ef United States District Judge
listrict of New Mexico

The signatures of the parties follow on the next page.

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AGREED AND CONSENTED TO:
For the United States,
Plaintiff

Ralph Boyd
Assistant Attorney General

BY:
(#~"”H TE~ x:jf`
Larry G. Ward (DC Bar:é;;l)
Claire L. Gregory (NH r 4063)

Employment Litigation Section
Civil Rights Division

U.S. Department of Justice
601 D Street, N.W.
Washington, D.C. 20004

(202) 514-3862

 

Norman C. Bay
United States Attorney
District of New Mexico

   

  

Jan Eliz eth Mitche l

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(505) 224-l472

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For New Mexico Department of
Public Safety, Defendant

Z/m!§a

Nicholas Bakas
Secretary

New Mexico Department
of Public Safety

P.O. Box 1628

Santa Fe, NM 87504-1628
(505) 827-3370

 

 

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THE EXHIBITS ATTACHED TO THIS

SCAl\I. SAID EXHIBITS ARE ATTACHED
TO THE ORIGINAL PLEADING IN THE
CASE FILE WHICH IS LOCATED IN‘ THE
RECORDS DEPARTMENT, U.S.

DISTRICT COURT CLERK’S OFFICE.

